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1    William E. Bonham, SBN: 55478
     Attorney at Law
2    916 2nd Street, 2nd Floor
     Sacramento, CA 95814
3    Telephone:(916) 557-1113

4    Attorney for defendant
     MICHAEL CORSBIE
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9                        UNITED STATES DISTRICT COURT

10                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,           No.   11-CR-00036 WBS

13                Plaintiff,

14         v.                            STIPULATION AND [PROPOSED] ORDER
                                         TO CONTINUE ADMIT OR DENY
15   MICHAEL CORSBIE,                    HEARING

16                Defendant.

17
           The defendant, Michael Corsbie, through his undersigned
18
     counsel and the United States, through its undersigned counsel,
19
     hereby agree and request that the admit or deny hearing,
20
     currently set for Monday, February 3, 2014         at 9:30 am, be
21
     vacated and continued until Tuesday, February 18, 2014 at 9:30
22
     am.   USPO White has been informed and has no objection.
23
           A continuance is necessary because counsel needs additional
24
     time to review additional discovery and for further discussions
25
     with his client and USPO White.
26
           I, William E. Bonham, the filing party, have received
27
     authorization from AUSA Sherry Haus to sign and submit this
28
                                         1
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1    stipulation and proposed order on her behalf.

2        Accordingly, the defense and the United States stipulate

3    that the admit or deny hearing for defendant, Michael Corsbie

4    should be continued until Tuesday, February 18, 2014 at 9:30 am.

5    Dated: January 31, 2014                 BENJAMIN B. WAGNER
                                             United States Attorney
6

7                                            By:/s/ WILLIAM BONHAM for
                                             SHERRY HAUS
8                                            Assistant U.S. Attorney

9
     Dated: January 31, 2014                 By:/s/ WILLIAM BONHAM for
10                                           WILLIAM BONHAM
                                             Counsel for defendant
11                                           Michael Corsbie
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13

14                                     ORDER
15       IT IS SO ORDERED.       The admit or deny hearing currently set
16   for Monday, February 3, 2014 is vacated and continued to Tuesday,
17   February 18, 2014 at 9:30 am.
18   Dated:   January 31, 2014
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